                                  UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE AT KNOXVILLE
                                  CRIMINAL MINUTES - JURY TRIAL
                                            June 17, 2021

  United States of America vs. Anming Hu    Case No.         3:20-CR-21

  PRESENT before the Honorable Thomas A. Varlan, United States District Judge

                     Julie Norwood                                          Terri Grandchamp
                    Courtroom Deputy                                         Court Reporter

           Casey Arrowood, Matthew McKinsey                        A. Philip Lomonaco
                   Asst. U.S. Attorney                                     Counsel for Defendant

  PROCEEDINGS: Jury Deliberations

      •   Impaneled jury present: 102; 51; 55; 98; 32; 243; 271; 44; 136; 101; 97; 6
      •   Jury resumed deliberation at 9:00 a.m. Jury dismissed at 4:45 p.m.
      •   Jury Questions
      •   Jury message that they are deadlocked and jury polled
      •   The Court has declared a Mistrial and the Motion under Rule 29 remains under advisement.




  1:35 p.m. to 2:10 p.m.
  4:15 p.m. to 4:45 p.m.




Case 3:20-cr-00021-TAV-DCP Document 108 Filed 06/16/21 Page 1 of 1 PageID #: 737
